Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 1 of 51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 2 of 51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 3 of 51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 4 of 51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 5 of 51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 6 of 51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 7 of 51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 8 of 51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 9 of 51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 10 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 11 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 12 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 13 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 14 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 15 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 16 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 17 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 18 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 19 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 20 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 21 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 22 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 23 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 24 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 25 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 26 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 27 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 28 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 29 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 30 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 31 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 32 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 33 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 34 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 35 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 36 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 37 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 38 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 39 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 40 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 41 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 42 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 43 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 44 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 45 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 46 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 47 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 48 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 49 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 50 of
                                        51
Case 10-93904-BHL-11   Doc 260-1   Filed 02/09/11   EOD 02/09/11 17:41:43   Pg 51 of
                                        51
